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          IN THE UNITED STATES DISTRICT COURT FOR
            THE MIDDLE DISTRICT OF PENNSYLVANIA
____________________________________
                                 :
JESSE BARNES                     :
                                 :
                     Plaintiff, :
                                 :  CIVIL ACTION NO. 18-1497
      v.                         :
                                 :
SHELL EXPLORATION                :
AND PRODUCTION COMPANY :
APPALACHIA; SHELL                :
EXPLORATION                      :
AND PRODUCTION COMPANY; :
AND; SHELL OIL COMPANY           :
                                 :
                                 :
                     Defendants. :
____________________________________

           PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
         DEFENDANTS’ MOTION TO COMPEL MENTAL HEALTH
                   EXAMINATION OF PLAINTIFF

I.     INTRODUCTION/COUNTERSTATEMENT OF FACTS

     Defendants want this Court to order Plaintiff to submit to a mental health

examination pursuant to Fed.R.Civ.P 35 despite the fact that they questioned her, in

detail, at her deposition regarding her emotional distress resulting from their

discriminatory and retaliatory conduct; they are in possession of her medical records;

and, they have utterly failed to meet their burden to demonstrate that they are entitled

to the same.
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    Plaintiff filed her complaint in this Court on July 27, 2018. The parties are

currently engaged in discovery. Defendants deposed Plaintiff on August 2, 2019

and, as is clear from their present Motion and Memorandum (and which they do not,

apparently dispute), questioned Plaintiff in detail regarding her emotional distress

that resulted from Defendants’ discriminatory and retaliatory conduct. Plaintiff was

fully responsive to all of Defendants’ questions regarding the same (which, again,

Defendants apparently do not dispute). She testified that she suffered from anxiety

as a result of Defendants’ conduct1. What Defendants did not include in their present

Motion to this Court is the fact that Plaintiff identified her medical providers from

whom she sought treatment in connection with her emotional distress and obtained

and produced to Defendants her full medical records from those providers.

    As set forth in detail below, Defendants’ present Motion should be denied. They

had full and fair opportunity to question Plaintiff regarding her claim of emotional

distress (and may do so again at trial); and, they are in possession of her complete

medical records from the providers from whom Plaintiff sought treatment in

connection with her emotional distress. Moreover, they have utterly failed to meet




1
 That included, but was certainly not limited to, her male supervisor showing her a picture of himself in his underwear;
calling her a hot blonde; touching her thigh and stomach; telling her that he thought about her while he was showering;
and, male colleagues calling her a “bitch”. In response to Plaintiff’s complaints about the same, Defendants demoted
Plaintiff while keeping her male supervisor in his supervisor-level position (and putting Plaintiff into positions in
which she had to continue to interact with her sexual harasser).


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their burden to show that they are entitled to an order compelling Plaintiff to submit

to an examination pursuant to Fed.R.Civ.P. 35.

II.   ARGUMENT

      A. Legal Standard For Fed.R.Civ.P. 35 Medical Examinations

      Fed.R.Civ.P. 35 reads, in relevant part,
  (a) Order for an Examination.
      (1) In General. The court where the action is pending may order a party
      whose mental or physical condition—including blood group—is in
      controversy to submit to a physical or mental examination ….
      (2) Motion and Notice; Contents of the Order. The order:
             (A) may be made only on motion for good cause and on notice
             to all parties and the person to be examined; and

      “Rule 35 requires a discriminating application by the trial judge, who must

decide, as an initial matter in every case, whether the party requesting a mental or

physical examination… has adequately demonstrated the existence of the Rule's

requirements of "in controversy" and "good cause." Schlagenhauf v. Holder, 379

U.S. 104, 118-119 (1964).

      In Schlagenhauf, the Supreme Court addressed the standard governing Rule

35 and held that the Rule places a clear set of limitations on the use of such

examination not contemplated with respect to other forms of discovery. Id at 118

(comparing the text of Rule 35 with that of Rules 26 and 30). The Court specifically

held that the “in controversy” and “good cause” requirements are not “mere

formailities,” but plainly expressed limitations on the use of such examination. Id
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(explaining that “[the Rule 35 requirements] are not met by mere conclusory

allegations of the pleadings -- nor by mere relevance to the case -- but require an

affirmative showing by the movant that each condition as to which the examination

is sought is really and genuinely in controversy and that good cause exists for

ordering each particular examination). Indeed, as the Court explained, “the specific

requirement of good cause would be meaningless if good cause could be sufficiently

established by merely showing that the desired materials are relevant, for the

relevancy standard has already been imposed by Rule 26 (b).” Id. Significantly, the

Court also held that “the ability of the movant to obtain the desired information by

other means is relevant.” Id.     Subsequent to the Supreme Court’s holding in

Schlagenhauf, this Court has confirmed that it is the party moving for a Rule 35

examination who bears the affirmative burden of showing that both prongs of the

Rule are satisfied. Womack v. Stevens Transp., Inc., 205 F.R.D. 445, 447 (E.D.Pa.

2001).

      B. Defendant Has Not Met Its Burden of Showing That Plaintiff’s Mental
         State is “In Controversy”

      In the context of Rule 35, a “garden variety” claim of emotional distress,

without more, is insufficient to place a plaintiff’s mental condition “in controversy.”

Smith v. J.I. Case Corp., 163 F.R.D. 229, 230 (E.D.Pa 1995). Relying in part on the

Supreme Court’s holding from Schlagenhauf, the Court in Smith emphasized that

“sweeping examinations of a party who has not affirmatively put into issue his own

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mental . . . condition are not to be ordered merely because the person has made a

claim of emotional distress.” Id at 230-213. In reaching its holding, the Court

observed that the “in controversy” prong of Rule 35 is generally met under the

following conditions: “1) when there is a separate tort claim for emotional distress,

2) when the plaintiff alleges that he suffers from a severe ongoing mental injury or

a psychiatric disorder, 3) when the plaintiff will offer expert testimony to support

the claim, or 4) when the plaintiff concedes that his mental condition is in

controversy).” Id at 230.

      First, Plaintiff has confirmed with Defendants (repeatedly) that she does not

intend to call an expert to testify at trial regarding the emotional distress that she

suffered as a result of Defendants’ unlawful conduct.

      Second, courts from the Third Circuit have followed the basic principle that a

garden-variety claim for emotional distress does not serve to place a party’s mental

state “in controversy.” Montana v. Cty. of Cape May Bd. of Freeholders, 2013 U.S.

Dist. LEXIS 57674 (D.N.J. Apr. 22, 2013); see also Bowen v. Parking Auth., 214

F.R.D. 188, 193 (D.N.J. 2003) (“a plaintiff's mental status being "in controversy"

requires more than "garden variety" emotional distress allegations that are part and

parcel of the plaintiff's underlying claim” [internal citations omitted]). In fact, many

courts throughout the Country hold the view that garden variety emotional distress

damages will not serve to place a Plaintiff’s mental state “in controversy.” See, e.g.,


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Gattegno v. PriceWaterhouseCoopers, LLP, 204 F.R.D. 228, 232 (D. Conn. 2001);

Turner v. Imperial Stores, 161 F.R.D. 89, 97-98 (S.D. Cal. 1995); Bridges v.

Eastman Kodak Company, 850 F. Supp. at 220, 222; Sabree v. United Broth. of

Carpenters & Joiners, 126 F.R.D. 422, 426 (D. Mass. 1989); Robinson v.

Jacksonville Shipyards, Inc., 118 F.R.D. 525, 531 (M.D. Fla. 1988).

      There is no legitimate basis on which to conclude that Plaintiff’s mental state

is “in controversy” or rises above the garden-variety level. Plaintiff has not retained

an expert witness; has not alleged a separate tort for emotional harm; and has not

conceded that her own mental state is somehow “in controversy.” To this end, the

emotional harm alleged by Plaintiff is “part and parcel” of her underlying claim (as

it is for the vast majority of Plaintiffs in employment discrimination cases). See

Bowen at 193; Montana at 7. To hold that a Rule 35 examination is warranted in

circumstances such as those presently before the Court would render the Supreme

Court’s holding in Schlagenhauf completely meaningless. Indeed, such a holding

would essentially permit a Rule 35 examination to be conducted in any case in which

some form of emotional distress is a component of the alleged damages. This type

of scenario is exactly what Schlagenhauf guards against and is precisely why

Congress placed limitations on the use of Rule 35 that are not present for other forms

of discovery.




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      Here, in fact, the entire basis of Defendants’ assertion that Plaintiff’s mental

state is “in controversy” appears to be because the same “is inextricably intertwined

with the full story that she will testify to at trial.” In other words, Defendants’

argument is that a plaintiff in an employment discrimination case should be

compelled to submit to a medical examination merely because her “story” at trial

will include that Defendants’ discriminatory and retaliatory conduct caused her

emotional distress. If this Court adopts Defendants’ desired standard, then, again,

almost every single plaintiff in an employment discrimination lawsuit would have

to undergo such an examination, and the limitations set forth in Fed.R.Civ.P. 35

would be completely undermined.

      Every case to which Defendants cited in apparent support of their argument

that Plaintiff’s mental state is “in controversy” is distinguishable from the present

matter (and none are from the Third Circuit). See Ferrell v. Shell Oil Co., 1995 U.S.

Dist. LEXIS 17647 (E.D.La. Nov. 21, 1995)(unlike in the present matter, the

plaintiff in that case had brought a claim for intentional infliction of emotional

distress; the examination was scheduled for the purpose of determining the

plaintiff’s entitlement to long-term disability benefits; and, the plaintiff conceded

that her mental state was “in controversy”); Dahdal v. Thorn Americas, Inc. d/b/a

Rent-A-Center, 1998 U.S. Dist. LEXIS 832 (D. Kan. Jan. 28. 1998)(unlike in the

present matter, the plaintiff in that case testified that she underwent


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psychological/psychiatric treatment regarding issues unrelated to her case; and, that

she experienced flashbacks of sexual abuse that occurred prior to her employment

with the defendant which were exacerbated by the defendant’s conduct); Robinson

v. HD Supply, Inc., 2013 U.S. Dist. LEXIS 101703 (E.D. Cal. July 19, 2013)(unlike

in the present case in which Plaintiff testified to having anxiety, the plaintiff in that

case testified to about twenty one (21) symptoms of his emotional distress including

anxiety and also, inter alia, loss of libido; rapid weight gain; hair loss; headaches;

nightmares; and, nervous twitching).

      For these reasons, Plaintiff’s mental state is not “in controversy” and

Defendant’s motion must be denied.

      C. Defendant Has Failed to Meet Its Burden of Demonstrating “Good
         Cause” Necessary to Warrant an Examination

      Assuming the Court finds Plaintiff’s mental state to be “in controversy,”

which would run contrary to well-established case law, the Court must still

nonetheless find that Defendants have demonstrated that “good cause” exists to

justify ordering a Rule 35 examination. Latella v. Consol. Rail Corp., 1993 U.S.

Dist. LEXIS 8724, at *2 (E.D. Pa. 1993) (the Court could not assume “good cause”

merely because Plaintiff’s condition was “in controversy”). “Good cause” requires

the movant to affirmatively show that the proposed examination could adduce facts

specifically relevant to a cause of action and is necessary to the movant’s case.


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Womack at 447. Consistent with Schlagenhauf, this requires a showing that rises

above the basic relevancy standard of Rule 26. Schlagenhauf at 118. The Court

must also weigh any findings of relevance and necessity against the ability of the

moving party to obtain the desired information through other means. Womack at

447. In short, a party moving for a Rule 35 examination must show some justifiable

relevance and necessity for the same.

      Defendants have utterly failed to offer any legal or factual support for their

assertion that “good cause” exists to justify compelling Plaintiff to submit to a Rule

35 examination. Their entire, conclusory basis for arguing the same is as follows:

“Plaintiff has posited a direct causal link between her ‘severe’ psychological injuries

and Defendants’ alleged sexual harassment.” Defs.’ Br. pp. 8-9. In other words,

according to Defendants the fact that Plaintiff has alleged that she has suffered

emotional distress resulting from Defendants’ sex discriminatory and retaliatory

conduct is sufficient to show “good cause” for a mental health examination. That

happens in almost every employment discrimination case; in other words, it is

common for a plaintiff to assert in those matters, as Plaintiff did here, that she

suffered emotional distress resulting from the employer’s discriminatory and/or

retaliatory conduct. As with the “in controversy” element discussed above, that

alone is insufficient to demonstrate good cause. Indeed, and as with the “in




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controversy” element, that would mean that there exists “good cause” in almost

every employment discrimination case.

      Again, every case to which Defendants cited in apparent support of their

argument that “good cause” exists is distinguishable from the present matter (and,

again, none are from the Third Circuit). See, e.g., Barry v. Shell Oil Co., 2017 U.S.

Dist. LEXIS 52626 (D. Al. Apr. 3, 2017)(the plaintiff was, unlike in the present

matter, planning to offer expert testimony regarding what his lifetime

medical/psychological treatment would cost); Terry v. Promise Hosp. of Ascension,

Inc., 2014 U.S. Dist. LEXIS 38835 (M.D. La. Mar. 25, 2014)(Plaintiff was not

challenging the examination itself; the only issue in dispute was whether she was

permitted to have her counsel present); Thiessen v. Gen. Elec. Cap. Corp., 178

F.R.D. 568 (D. Kan. 1998)(the court in that case granted the defendants’ motion to

compel an examination because of the plaintiff’s testimony that, as a result of the

defendants’ conduct, he suffered, inter alia, water in his lungs; congestive heart

failure; and, that, because of the defendants, he came “very close” to separating with

his fiancé”);

      In light of the factual background outlined above, a Rule 35 examination

would serve no justifiable purpose in the present matter. Specifically, it would not

serve to rebut (1) another expert report; (2) a formal psychiatric diagnoses offered

by an expert or healthcare provider; or (3) a separate tort primarily based on


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emotional harm (for example – intentional infliction of emotion distress). Indeed,

the only purpose that Defendants’ examination would serve is to harass and

intimidate the Plaintiff by subjecting her to a lengthy - and unnecessary - medical

examination conducted by a physician of Defendants’ choosing. Putting aside the

fact Defendants have no justifiable need for a Rule 35 examination, which by itself

warrants the denial of Defendants’ Motion, much of the information that Defendants

would presumably seek in an examination is available to Defendants through other

means. As stated above, these include Plaintiff’s medical records from the providers

with whom she sought treatment in connection with Defendants’ discriminatory and

retaliatory conduct (which she has produced to Defendants); and, Plaintiff’s sworn

deposition testimony regarding her emotional harm. Consistent with Schlagenhauf

and its subsequent case law, such other means of assessing Plaintiff’s emotional

harm are significant factors in determining the true “need” for a Rule 35

examination.

      For these reasons, Defendant has not shown “good cause” for the Court to

order an examination of Plaintiff and Defendant’s Motion must be denied

accordingly.




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      D. Defendant is Not Entitled to an Award of Fees and Costs Associated
         with Making its Motion

      Without any legitimate basis, Defendants request that this Court order that

Plaintiff pay for their fees incurred in their “attempting to resolve the discovery

dispute” and their drafting, and filing, their present Motion. First, Defendants did

not attempt “to resolve the discovery dispute.” As is clear from Exhibit “D” to their

present Motion, when Plaintiff asked Defendants the basis for their seeking to have

Plaintiff to submit to a Rule 35 examination, Defendants only response was to refer

to Plaintiff’s deposition transcript and complaint.

      Second, in apparent support of this request, Defendants (again) cite to cases

that are distinguishable from the present matter (none of which (again) are from this

Circuit). See, e.g., Swapalease, Inc. v. Sublease Exchange Com., Inc., 2009 U.S.

Dist. LEXIS 401063 (S.D. Ohio Apr. 27, 2009)(in that case, unlike in the present

matter, the plaintiff had, in what the court found to be bad faith, failed to produce

requested information).

      As is clear from Plaintiff’s Opposition herein, Defendants’ request that this

Court order Plaintiff to submit to a Rule 35 examination is without legitimate basis;

they have failed to meet their burden to demonstrate that the same is justified.

Defendants’ request for attorney’s fees and costs should be accordingly denied.




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III.   CONCLUSION

       For the foregoing reasons, Plaintiff respectfully submits that Defendant’s

Motion to Compel a Rule 35 examination of Plaintiff should be denied in its entirety.



                                              Respectfully submitted,

                                              CONSOLE MATTIACCI LAW

Dated: January 28, 2020                By:    /s/ Caren N. Gurmankin_____
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                        CERTIFICATE OF SERVICE


      I, Caren N. Gurmankin, Esquire, hereby certify that Plaintiff’s Opposition to

Defendants’ Motion to Compel Mental Health Examination of Plaintiff was served

via ECF, this day of January 28, 2020, upon the following:


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